AO 442 (Rev.01/09) ArrestWarrant



                                         UNITBo STATBS DISTNTCT COURT
                                                                for the

                                                        District of Connecticut


                      United States of America                    )
                                                                  )
                                                                  )        caseNo     3'\1              rY$          fo8?Løt ô)
WILLIAM FUSCO                                                     )
                             Defendant                            )

                                                       ARREST WARRANT
To:       Any authorizedlaw enforcement officer

           YOU ARE COMMA.NDED to arrest and bring before a United States magistrate judge without unnecessary delay
(nante of person to be arrested) WILLIAM FUSCO

who is accused of an offense or violation based on the following document filed with the court:

ñ Indictment il Superseding Indictment il Information il Superseding Infonnation d                                                Complaint
Í Probation Violation Petition il Supervised Release Violation Petition D Violation Notice ll                                     Order of the Court

This offense is briefly described as follows:

  See Attached Affidavit of DEA Special Agent Margaret Lang




                                                                                  /s/ William I. Garfinkel, USMJ

Date                    IY     1                                                          Issuing                signature
                                                                                                    fficer's

City and state:          Bridgeport, Con necticut                          WILLIAM l. GARFINKEL, U.S. Magistrate Judge
                                                                                            Printed name and title


                                                                Return

          This                           on   (date)                  , and the person was arrested on (date)
at (city and state)


Date:
                                                                                         Arre s t ing   ofi ce r's   si gnature



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